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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA 


 STEPHEN SVENDSEN,                                    Case No. 16‐CV‐0583 (PJS/HB)

                       Plaintiff,

 v.                                                               ORDER

 G4S SECURE SOLUTIONS (USA) INC.,

                       Defendant.



       Defendant G4S Secure Solutions (USA) Inc. (“G4S”)—the prevailing party in this

case—submitted a bill of costs totaling $2,399.57 against plaintiff Stephen Svendsen. 

ECF No. 98.  The bill of costs sought to recover the amounts paid by G4S for transcripts

of the depositions of Svendsen and Christopher Kenealy and for FedEx charges to

deliver those transcripts.  See ECF No. 98.  After review, the Clerk of Court entered a

cost judgment against Svendsen in the amount of $2,346.55.  ECF No. 100.  (The Clerk

did not allow G4S to tax $53.02 in FedEx delivery fees.  See ECF No. 100 at 1.)  This

matter is before the Court on Svendsen’s motion to review the taxation of costs.  ECF

No. 101.  For the reasons that follow, the Court denies Svendsen’s motion.

       The Court has substantial discretion in deciding whether to award costs to a

prevailing party under 28 U.S.C. § 1920 and Fed. R. Civ. P. 54(d).  See Zotos v. Lindbergh

Sch. Dist., 121 F.3d 356, 363 (8th Cir. 1997).  “A prevailing party is presumptively

entitled to recover all of its costs.”  Thompson v. Wal‐Mart Stores, Inc., 472 F.3d 515, 517
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(8th Cir. 2006) (quoting In re Derailment Cases, 417 F.3d 840, 844 (8th Cir. 2005)).  “The

losing party bears the burden of overcoming the presumption that the prevailing party

is entitled to costs . . . .”  168th and Dodge, LP v. Rave Reviews Cinemas, LLC, 501 F.3d 945,

958 (8th Cir. 2007).

       Svendsen asks the Court to reverse the taxation of costs against him for two

reasons.  First, he argues that the two deposition transcripts were not “necessarily

obtained for use in [this] case.”  ECF No. 101 at 2.  Second, he argues that he is “unable

to pay the amount of money now or in the future.”  ECF No. 101 at 4.  

       First, the Court finds that both deposition transcripts were reasonably necessary

to G4S at the time that it ordered them.  Svendsen argues that the transcripts were

ordered for purely investigatory purposes because G4S’s summary‐judgment motion

did not “rely on the depositions” either “in fact or law.”  ECF No. 101 at 3.  That is

simply not true.  G4S cited to both depositions throughout its memorandum in support

of its summary‐judgment motion and submitted both depositions into the record.1  See

Sorin Grp. USA, Inc. v. St. Jude Med., S.C., Inc., No. 14‐CV‐4023 (JRT/HB), 2017 WL

3503360, at *5 (D. Minn. Aug. 15, 2017) (finding deposition transcripts “necessary” when


       1
         G4S cited to the Kenealy deposition throughout its memorandum.  See, e.g., ECF
No. 69 at 7, 8, 9, 10, and 30.  G4S also cited to the Svendsen deposition throughout its
memorandum.  See, e.g., ECF No. 69 at 3, 4, 5, 6, 7, 9, 10, 15, 17, 18, 20, 21, 22, 27, 29, and
30 (citing to the plaintiff deposition).  G4S’s attorney then filed transcripts of both
depositions.  See ECF No. 72‐1 (Svendsen deposition); ECF No. 72‐3 (Kenealy
deposition). 

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the party seeking costs cited to the transcripts in “its memorandum in support of its

motion for summary judgment”).  And this Court cited to both depositions throughout

its order granting summary judgment to G4S on Svendsen’s defamation claims. 

Svendsen v. G4S Secure Sols. (USA) Inc., No. 16‐CV‐0583 (PJS/HB), 2018 WL 4374008

(D. Minn. Sept. 13, 2018).

       The Court notes that G4S would be entitled to recover its costs even if G4S had

not cited the transcripts in support of its summary‐judgment motion.  “[D]eposition

transcripts for witnesses that possessed information relevant to the claims or defense in

the case may be taxed” even if those “transcripts were not used at summary judgment.”

Superior Seafoods Inc. v. Hanft Fride, No. 05‐CV‐0170 (DWF/FLN), 2011 WL 6218286, at *1

(D. Minn. Nov. 21, 2011), report and recommendation adopted, 2011 WL 6218000 (D. Minn.

Dec. 14, 2011).  At the time that the transcripts were ordered, both Svendsen and

Kenealy unquestionably possessed information relevant to Svendsen’s claims and G4S’s

defenses.2  See Zotos, 121 F.3d at 363.   

       Second, Svendsen has not proven that he cannot afford to pay the costs now or in

the future.  To be sure, a party’s indigence is a valid reason to deny costs. See Poe v. John



       2
       Svendsen alleged that G4S defamed him on two occasions.  One of the allegedly
defamatory statements was made in a report written by Kenealy.  See Am. Compl.
¶¶ 65‐72; see also id. at ¶¶ 32‐35.  Obviously, Svendsen (the victim of Kenealy’s allegedly
defamatory statement) and Kenealy (the author of that allegedly defamatory statement)
were critically important witnesses.

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Deere Co., 695 F.2d 1103, 1108 (8th Cir. 1982).  But a “nonprevailing party must be facing

dire financial circumstances” to avoid paying costs.  Kaplan v. Mayo Clinic, No. 07‐CV‐

3630 (JRT/JJK), 2011 WL 3837095, at *2 (D. Minn. Aug. 29, 2011).  “Furthermore, ‘[i]t is

not just a matter of being unable to presently pay the costs; it must also be shown that

the litigant is not likely to be able to pay the costs in the future.’” Id. (quoting Denson v.

Ne. Ill. Reg. Commuter R.R. Corp., No. 00 C 2984, 2003 WL 21506946, at *1 (N.D. Ill.

June 27, 2003)).  The losing party can satisfy its burden to establish indigence by

submitting “affidavits or other evidence of income, assets, and schedules of expenses.” 

Id.

       Svendsen has provided no evidence that he cannot currently pay $2,346.55 in

costs, much less that he will be unable to pay those costs in the foreseeable future. 

Instead, he simply asserts that he is a “person of modest means” who qualified for in

forma pauperis status.  ECF No. 101 at 4‐5.  As far as the record reflects, however,

Svendsen is a skilled, able‐bodied man who is capable of earning a substantial income

and is far from retirement age.  Svendsen’s unsupported assertions regarding his

inability to pay do not warrant reversal of costs.  




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                                        ORDER

      Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT plaintiff’s motion for review of the taxation of costs

[ECF No. 101] is DENIED.


 Dated:  January 22, 2019                     s/Patrick J. Schiltz                                     
                                             Patrick J. Schiltz
                                             United States District Judge




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